     Case 1:19-cr-00362-LO Document 18 Filed 01/24/20 Page 1 of 2 PageID# 56



                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division

UNITED STATES OF AMERICA,                  )
                                           )
v.                                         )
                                           )      Case No. 1:19-cr-362-LO
BRIAN CARPENTER,                           )
                                           )
                          Defendant.       )

                    MOTION TO MODIFY CONDITIONS OF RELEASE

       COMES NOW counsel for Defendant, BRIAN CARPENTER, and requests the Court

modify his release conditions to permit him to travel within the United States, with prior

notification to Pretrial Services.

       On December 13, 2019, Mr. Carpenter appeared, without counsel, before

Magistrate Judge Buchanan for his initial appearance. He was advised of his rights, the

charges and potential penalties. He advised the Court that he had counsel, who could not

appear on that date. In accordance with a prior agreement with undersigned counsel, the

United States did not seek detention. Mr. Carpenter was released with conditions. He

surrendered his passport and no restrictions on his travel were ordered. See the Minute

Entry for the proceedings [Doc. 9, Exhibit 1.]

       An Order setting conditions of release was signed by Judge Buchanan and entered

on the docket. [Doc. 10, Exhibit 2]. The specific conditions of release were handwritten on

the release form in blue ink. The release form also contained a preprinted condition relating

to travel restrictions, said restriction not being entered by the Court. [Doc. 10, Exhibit 2].

       At the request of the defense, the parties agreed to modify conditions of release so

that Mr. Carpenter could have email contact with a potential witness in the case, in order

to maintain his business enterprise.

       In order to effect the consent conditions of release, undersigned counsel prepared

proposed consent conditions of release, but mistakenly imposed travel restrictions which
   Case 1:19-cr-00362-LO Document 18 Filed 01/24/20 Page 2 of 2 PageID# 57



had not been imposed by Judge Buchanan. [Docs. 13 and 17]. This Court endorsed the

Order Setting Conditions of Release on January 17, 2020. [Doc. 17, Exhibit 3].

       U.S. Pretrial Services advised Mr. Carpenter that as a result of the revised consent

conditions of release, he could no longer travel without prior approval.

       The Defendant asks the Court to recognize the error made by undersigned counsel

and modify his conditions of release as originally intended by Judge Buchanan.

                                          Respectfully submitted,

                                          BRIAN CARPENTER
                                          By Counsel

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                               CERTIFICATE OF SERVICE

      I hereby certify that the foregoing was filed by CM/ECF on the 24th of January
2019, which will send a notification of such filing (NEF) to all counsel of record.

                                          /s/ Pleasant S. Brodnax, III
                                          Pleasant S. Brodnax, III




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